              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:00-cr-00006-MR-DLH-8


UNITED STATES OF AMERICA,       )
                                )
                                )
         vs.                    )                        ORDER
                                )
                                )
DEVONNA MARCHELLE DAVIS.        )
_______________________________ )


     THIS MATTER is before the Court upon the Defendant’s Motion for

Early Termination of Probation or Supervised Release Term [Doc. 488].

Both counsel for the Government and the Defendant’s supervising

probation officer have advised the Court’s chambers that they do not

oppose the Defendant’s Motion.

     Upon review of the Defendant’s motion, and in light of the lack of

opposition by the Government and the Defendant’s supervising probation

officer, the Court is satisfied that the early termination of the Defendant’s

supervised release is warranted by the Defendant’s conduct and is in the

interest of justice. See 18 U.S.C. § 3583(e)(1).

     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion for Early Termination of Probation or Supervised Release Term



   Case 1:00-cr-00006-MR-DLH    Document 490       Filed 06/11/13   Page 1 of 2
[Doc. 488] is GRANTED, and the Defendant’s term of supervised release is

hereby terminated.

     IT IS SO ORDERED.         Signed: June 10, 2013




   Case 1:00-cr-00006-MR-DLH     Document 490          Filed 06/11/13   Page 2 of 2
